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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CIV-62565-RAR

  JESSICA L. MCCOMB,

         Plaintiff,

  v.

  CREDENCE RESOURCE MANAGEMENT LLC,

        Defendant.
  ___________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE came before the Court for a status conference on January 22, 2021 [ECF

  No. 12]. The parties discussed the claims at issue and indicated that an amicable resolution of said

  claims is imminent. The Court finds that the favorable prospect of settlement of this matter

  supports granting the parties the necessary time to finalize such an agreement.

         Accordingly, the Court having carefully reviewed the file, and being otherwise fully

  advised in the premises, it is hereby ORDERED AND ADJUDGED as follows:

         1.      The above-styled action is administratively CLOSED without prejudice to the

  parties to file a Stipulation of Dismissal within thirty (30) days of the date of this Order.

         2.      If the parties fail to complete the expected settlement, either party may request the

  Court to reopen the case.

         3.      The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 22nd day of January, 2021.


                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
